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1    MALCOLM S. SEGAL - 075481
     JAMES P. MAYO - 169897
2    SEGAL & KIRBY LLP
     770 L Street, Suite 1440
3    Sacramento, CA 95814
     Telephone: (916) 441-0828
4    Facsimile: (916) 446-6003
5    Attorneys for Defendant
     LINDA M. BURKE
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8
                     IN THE UNITED STATES DISTRICT COURT FOR THE
9
                               EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,                          CASE NO. CR. S-05-0365 FCD
13               Plaintiff,                             STIPULATION AND ORDER
                                                        CONTINUING JUDGMENT AND
14         vs.                                          SENTENCING
                                                        _______________________________
15   LINDA M. BURKE,
16
                 Defendant.
17                                              /
18
19
20         Defendant Linda M. Burke, through her counsel of record, Malcolm Segal, and
21   Plaintiff United States of America, through its counsel, Assistant United States Attorney
22   Kyle Reardon, agree and stipulate that the defendant’s Judgment and Sentencing
23   currently set for February 28, 2011, should be continued to April 18, 2011.
24         Good cause exists for the continuance. As is contemplated by the plea
25   agreement in this case, continuing the imposition of defendant Linda Burke’s Judgment
26   and Sentencing until after the sentencing of her co-defendant, which is currently set for
27   March 28, 2011, will provide the Court with a more complete view of the facts in this
28   case, the degree of her cooperation, and of her involvement in the matters leading to

                                                       1
                          Stipulation and Order Continuing Judgment and Sentencing
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1    the filing of the charges against her.
2          IT IS SO STIPULATED.
3                                                     SEGAL & KIRBY LLP
4    Dated: February 18, 2011
5
6                                              By:    /s/ Malcolm S. Segal
                                                      Malcolm S. Segal
7                                                     Attorneys for Defendant LINDA M. BURKE
8
     Dated: February 18, 2011
9
10                                             By:     /s/ Kyle Reardon
                                                      Kyle Reardon
11                                                    Assistant United States Attorney
                                                      (signed per authorization)
12
13
14
                                                 ORDER
15
           GOOD CAUSE APPEARING, it is hereby ordered that the Judgment and
16
     Sentencing of defendant Linda M. Burke set for February 28, 2011, is continued to April
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     18, 2011, at 10:00 a.m.
18
19
     Dated: February 18, 2011                 _______________________________________
20                                            FRANK C. DAMRELL, JR.
                                              UNITED STATES DISTRICT JUDGE
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                                                       2
                          Stipulation and Order Continuing Judgment and Sentencing
